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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 CASE NO.: 1:15-cv-22463-MGC

  HYDENTRA HLP INT. LIMITED, a
  foreign corporation d/b/a METART,

                 Plaintiff,

  vs.

  MAXIMUM APPS INC., a foreign
  company d/b/a SEX.COM; CLOVER
  HOLDINGS LIMITED PARTNERSHIP,
  a foreign company d/b/a SEX.COM;
  SEX.COM; FREDERIC VALIQUETTE,
  an individual; and John Does 1-20,

              Defendants.
  ________________________________________/

        DEFENDANT CLOVER HOLDINGS LIMITED’S RESPONSE TO PLAINTIFF’S
         NOTICE OF FILING PURPORTED CERTIFICATE OF SERVICE (ECF NO. 78)

          Defendant Clover Holdings Limited (“Clover”) provides the following response to the

  Certificate (ECF No. 78) filed by Plaintiff Hydentra HLP Int. Limited (“Hydentra”) purporting to

  show that Hydentra recently perfected proper service on Clover pursuant to the requirements of the

  Hague Convention.1 As explained below, this purported attempt to serve Clover was ineffective

  because Hydentra failed to serve Clover with the operative pleading, as required. Hydentra,

  therefore, has yet to properly serve Clover to date, even though this case has been pending for

  nearly nine months and Clover’s motion to dismiss for lack of proper service and lack of



  1      Clover, and undersigned counsel acting on its behalf, specially appear for the limited
  purpose of filing this Response and expressly reserve, and do not waive, any and all defenses,
  without limitation, the defenses of lack of personal jurisdiction and insufficient service of
  process and all other defenses otherwise available under the Federal Rules of Civil Procedure.
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  personal jurisdiction (ECF No. 24) has been fully briefed and pending for approximately six

  months. Clover’s motion to dismiss should be granted, and nothing with respect to Hydentra’s

  recent filing changes this result.

                                         BACKGROUND

         On June 30, 2015, Hydentra filed this intellectual property dispute against Clover (among

  others) by filing the original Complaint. (ECF No. 1). On July 1, 2015, Hydentra filed an

  Amended Complaint by right. (ECF No. 5). On September 3, 2015, Clover moved to dismiss

  Hydentra’s Amended Complaint pursuant to Rule 12(b)(5) because Hydentra failed to properly

  serve Clover with process under the Hague Convention (and because this Court lacks personal

  jurisdiction over Clover). (ECF No. 24). Specifically, Hydentra purported to have served

  Clover’s corporate representative by hand through a private process server in St. Vincent

  (Clover’s country of incorporation), even though St. Vincent had expressly objected to service in

  that manner, thus making such service invalid. (Id.). The motion to dismiss also explained that

  Hydentra’s attempt to serve Clover was improper under the local law of St. Vincent, which does

  not permit hand service of a foreign lawsuit through a private process server.         (Id.)   As

  mentioned, Clover’s dismissal motion is fully briefed and awaiting the ruling. (ECF Nos. 31, 37).

         Apparently recognizing the ineffectiveness of its original attempt to serve Clover, on or

  about February 24, 2016 Hydentra attempted service on Clover again, this time by having a

  bailiff of the High Court of St. Vincent serve a non-managerial employee of Clover’s registered

  agent. (ECF No. 78). The bailiff, however, served Clover with a copy of the original Complaint,

  even though the Amended Complaint had superseded the original Complaint approximately eight

  months prior. A true and correct copy of the materials purportedly served on Clover through an

  employee of its registered agent is attached hereto as Exhibit A. On March 18, 2016, Hydentra




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  filed the Certificate, which attests that on February 24, 2016, the Registrar High Court of St.

  Vincent served a copy of the original Complaint on a non-managerial employee of Clover’s

  registered agent. (ECF No. 78).

                                            DISCUSSION

         To this day, and notwithstanding its filing of the Certificate, Hydentra has not perfected

  service on Clover because it failed to serve Clover with the Amended Complaint, which was the

  operative pleading at the time of service.2

         This exact factual scenario was addressed in Phillips v. Murchison, where the court held

  that in instances where a plaintiff has filed an amended complaint before effecting service of the

  original complaint, “serving a superseded complaint [i.e., the original complaint] with the

  summons [i]s not a proper service of process[.]” 194 F. Supp. 620, 622 (S.D.N.Y. 1961)

  (quashing service of process). Indeed, “a superseded complaint is ‘a mere scrap of paper’” under

  those circumstances. Id. The holding of Phillips has been applied in several other cases, which

  establish the rule that “service of the original complaint after an amended complaint has been

  filed is ineffective.” TCS Capital Management, LLC v. Apax Partners, L.P., 2008 WL 650385,

  at *10-11 (S.D.N.Y. Mar. 7, 2008); see Nordic Bank PLC v. Trend Group, Ltd., 619 F. Supp. 542,

  564 (S.D.N.Y. 1985) (“After an amended complaint has been filed, service of the superseded

  original complaint is inappropriate.”);; see also 4A Fed. Prac. & Proc. Civ. § 1093 (4th ed.)

  (“service of a superseded complaint with the summons does not fulfill the requirements of the


  2       Until proper service is made, the Court does not obtain personal jurisdiction over a
  defendant. See also Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999) (“In
  the absence of service of process (or waiver of service by the defendant), a court ordinarily may
  not exercise power over a party the complaint names as defendant. Accordingly, one becomes a
  party officially, and is required to take action in that capacity, only upon service of a summons or
  other authority-asserting measure stating the time within which the party served must appear and
  defend.”).



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  rule”). Courts in the Southern District of Florida have applied this rule, holding that where a

  plaintiff files an amended complaint before serving the original complaint, the plaintiff “must

  effectuate service” of the amended complaint. See, e.g., Martin v. Salvatierra, 233 F.R.D. 630,

  632 (S.D. Fla. 2005) (Jordan, J.) (“[B]oth Officers Salvatierra and Figueroa contend that Ms.

  Martin’s service of the original complaint is deficient because the original complaint had been

  superseded by an amended complaint at the time of service. I agree with the officers that Ms.

  Martin must effectuate service of her amended complaint and not her original complaint.”).

         This rule squarely applies here. Hydentra served a non-managerial employee of Clover

  with a copy of the original Complaint even though the Amended Complaint had long superseded

  that pleading. That attempt at service was therefore defective.

                                          CONCLUSION

         For the foregoing reasons and the reasons expressed in the Clover’s Motion to Dismiss

  (ECF No. 24), the Certificate (ECF No. 78) changes nothing, Hydentra has still not properly

  served Clover with process, and the Amended Complaint should be dismissed.




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                                             Respectfully submitted,

                                             By: /s/ John F. O’Sullivan
                                             John F. O’Sullivan
                                             Fla. Bar No. 143154
                                             Allen P. Pegg
                                             Fla. Bar No. 597821
                                             Jason D. Sternberg
                                             Fla. Bar No. 72887
                                             HOGAN LOVELLS US LLP
                                             600 Brickell Ave., Suite 2700
                                             Miami, FL 33131
                                             Telephone: (305) 459-6500
                                             Facsimile: (305) 459-6550
                                             john.osullivan@hoganlovells.com
                                             allen.pegg@hoganlovells.com
                                             jason.sternerg@hoganlovells.com

                                             Counsel for Defendant Clover Holdings Limited
                                             Partnership



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 24, 2016, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

  to counsel and that a true and correct copy was served via electronic mail on all counsel of

  parties of record.

                                                     By: /s/ Allen P. Pegg________
                                                         Allen P. Pegg
                                                         Fla. Bar No. 597821
                                                         allen.pegg@hoganlovells.com




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